                                                  Case 3:15-cv-05342-CRB Document 18 Filed 03/28/17 Page 1 of 1



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                                                                         IN THE UNITED STATES DISTRICT COURT
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                                           4                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                           6   HENRY MARTINEZ,                                    No. 15-cv-5342-CRB

                                           7                Plaintiff,                            ORDER DISMISSING CASE

                                           8     v.

                                           9   ALAMEDA COUNTY and DOES 1–50,

                                          10                Defendants.
                                                                                       /
For the Northern District of California




                                          11
    United States District Court




                                                      On April 21, 2016, Plaintiff failed to appear for a case management conference.
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                                               See CMC (dkt. 16). On March 10, 2017, the Court ordered Plaintiff to show cause within
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                                               14 days why this case should not be dismissed for failure to prosecute, as nothing had been
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                                               filed since. See OSC (dkt. 17). Plaintiff did not respond within that time period. The Court
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                                               therefore DISMISSES the case WITH PREJUDICE under Federal Rule of Civil Procedure
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                                               41(b). See Semtek Intern. Inc. v. Lockheed Martin Corp., 531 U.S. 497, 505 (2001).
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                                                      IT IS SO ORDERED.
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                                                      Dated: March 28, 2017
                                          20                                                     CHARLES R. BREYER
                                                                                                 UNITED STATES DISTRICT JUDGE
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